                             UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )

              V.                             )       NO. 3:18-cr-00200 (2)

LUIS COLINDRES                               )




       On the basis of the defendant's financial affidavit in this cause, the Court determines

that the defendant:

       is financially able to employ counsel and, therefore, denies his/her application for
       appointment of counsel at government expense.

  X   is financially unable to employ counsel and appoints the Office of the Federal Public
      Defender to represent him/her.

  X   is financially unable to pay the fee of any witness and pursuant to Rule 17(b), Federal
      Rules of Criminal Procedure, the Clerk shall issue a subpoena for any witness,
      PROVIDED that the defendant and his counsel shall submit subpoenas only for those
      witnesses whose presence is necessary to present an adequate defense to the charge or
      charges.

      Upon motion of the Government, the Court may order repayment or partial
      repayment from the defendant for the attorney and witness fees for these services
      should it appear the defendant has such ability at a later time.

       It is so ORDERED.

Dated: January 3, 2019
                                                           ALISTAIR E. NEWBERN
                                                           United States Magistrate Judge

cc: Federal Public Defender
    U.S. Probation Office
    U.S. Attorney's Office



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